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                  UNITED STATES GOVERNMENT

                  NATIONAL LABOR RELATIONS BOARD
                  OFFICE OF THE GENERAL COUNSEL
                  Contempt, Compliance and Special Litigation Branch
                  1015 Half Street, S.E. – Fourth Floor
                  Washington, D.C. 20003




BY CM/ECF                                                                             May 16, 2023

Mr. Mark Langer, Clerk
E. Barrett Prettyman U.S. Courthouse
333 Constitution Ave., NW
Washington, D.C. 20001


                           Re:     Linda Loma—Inland Empire Consortium for Healthcare
                                   Education d/b/a Loma Linda University Health Education
                                   Consortium v. NLRB
                                   No. 23-5096

                                   Emergency Status Update Regarding NLRB Election
                                   Proceedings


Dear Mr. Langer:
       Appellee National Labor Relations Board (“NLRB” or “Board”) submits the following
update regarding the status of the administrative proceedings that underlie both the appeal and
the Emergency Motion for Injunction Pending Appeal filed by Appellant Linda Loma—Inland
Empire Consortium for Healthcare Education (“Consortium”). In the appeal and emergency
motion, the Consortium principally seeks to enjoin the Board from further processing a union-
representation case involving a group of medical residents and fellows who participate in the
Consortium’s training program.
        The Regional Director for NLRB Region 31 issued the attached Decision and Direction
of Election (“DDE”) today. The DDE finds that the Consortium’s “functions are more closely
aligned with an educational institution, not a healthcare institution.” (DDE at 18). Even so, however,
the DDE concludes that the Consortium’s medical residents and fellows “are not faculty” who
would be exempt from the National Labor Relations Act (“Act”) under NLRB v. Catholic Bishop
of Chicago, 440 U.S. 490 (1979). (DDE at 18). In addition, the DDE finds that the Consortium’s
residents and fellows do not fall within the ministerial exception to the Act’s jurisdiction and that
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the Religious Freedom Restoration Act does not preclude the Board from exercising jurisdiction
here. (DDE at 19-24).
        For these reasons, the DDE concludes that the NLRB has jurisdiction over the
representation case and directs, in accordance with the parties’ stipulation, that a secret-ballot
election be conducted by mail. (DDE at 28). Pursuant to applicable rules, the Consortium is
directed to serve a voter list by May 18, 2023 and post a notice shortly before the election begins.
(DDE at 30-31 (citing 29 C.F.R. § 102.67(l), (k))).
        NLRB Region 31 will mail ballots to eligible voters at 5:00 p.m. on May 31, 2023. (DDE
at 29). Ballots received by the regional office on or before June 21, 2023 will be commingled,
opened, and tallied on June 22. (DDE at 29).
      The DDE provides that the Consortium may request immediate Board review of the
Regional Director’s decision and request a stay of the election under the Board’s regulations.
(DDE at 31 (citing 29 C.F.R. § 102.67)).




                                              Respectfully submitted,

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                                              Assistant General Counsel

                                              KEVIN P. FLANAGAN
                                              Supervisory Attorney
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